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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


 STATE OF KANSAS, et al.,

                      Plaintiffs,

           v.                                             Case No. 24-1057-DDC-ADM

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States,
 et al.,

                      Defendants.


                DEFENDANTS’ RESPONSE TO THE COURT’S SCHEDULING
                NOTICE AND PROPOSED INTERIM SCHEDULING ORDER
       In response to the Court’s Notice to All Counsel and Parties, ECF No. 8, counsel for all parties

have conferred in good faith, over email and videoconference, in an effort to “agree on all aspects of

an interim Scheduling Order.” Notice at 1-2. Despite those efforts, the parties were unable to reach

agreement on several issues. Defendants thus submit the following response to the Court’s Notice

and proposed interim scheduling order.

          Identity and Direct Contact Information for Lead Counsel for Defendants

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                              The Parties’ Proposed Scheduling Orders

       Based on the meet-and-confer process and Plaintiffs’ filings, Defendants understand Plaintiffs’

scheduling proposal to be as follows:

            •    April 22: Defendants’ Response to Plaintiffs’ Motion for a Preliminary Injunction due.
            •    April 29: Plaintiffs’ Reply to Defendants’ Response due.
            •    May 3: Defendants’ sur-reply due (if any).
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            •   Defendants’ forthcoming motion to dismiss cannot be filed “in conjunction with the
                Preliminary Injunction.” Pls.’ Mot. for Scheduling Order, ECF No. 39, at 2.
            •   As for Article III standing on the basis of alleged injury to state instrumentalities,
                Plaintiffs “anticipate having proof of these facts at the time of any hearing scheduled
                on this motion.” Pls.’ Mem. in Support of Mot. for Prelim. Inj., ECF No. 24, at 10
                n.9.

        By contrast, for the reasons set forth below, Defendants propose that Plaintiffs withdraw their

current motion for a preliminary injunction (or that the Court deny it without prejudice), and that

Plaintiffs refile that motion once they have actually compiled the information that they intend to rely

upon to carry their burden to show Article III standing.

        In the alternative, if the Court sets a schedule on Plaintiffs’ motion now, it should be a schedule

that combines briefing on Plaintiffs’ motion and Defendants’ forthcoming motion to dismiss, rather

than have briefing on those two motions proceed on separate tracks. And it should leave adequate

time for the parties to brief the issues raised in Plaintiffs’ filings. Defendants thus offer the following

scheduling proposal, in the alternative:

            •   April 26: Defendants’ Combined Motion to Dismiss and Opposition to Plaintiffs’
                Motion for a Preliminary Injunction
            •   May 10: Plaintiffs’ Combined Opposition to Defendants’ Motion to Dismiss and Reply
                in Support of Plaintiffs’ Motion for a Preliminary Injunction
            •   May 24: Defendants’ Motion-to-Dismiss Reply
            •   Hearing: if necessary, at the Court’s convenience

                 Good Cause to Adopt Defendants’ Proposed Scheduling Order
        Plaintiffs challenge an agency rule that was published in the Federal Register nine months ago,

on July 10, 2023. See Dep’t of Education, Improving Income Driven Repayment for the William D. Ford Federal

Direct Loan Program and the Federal Family Education Loan (FFEL) Program, 88 Fed. Reg. 43820 (July 10,

2023). The Rule was preceded by a Notice of Proposed Rulemaking, issued fifteen months ago, on

January 11, 2023. See Dep’t of Education, Improving Income-Driven Repayment for the William D. Ford

Federal Direct Loan Program, 88 Fed. Reg. 1894 (Jan. 11, 2023). Despite that significant passage of time,

Plaintiffs now seek the “extraordinary remedy” of a preliminary injunction, Winter v. Nat. Res. Def.



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Council, Inc., 555 U.S. 7, 24 (2008), and seek to brief important issues of nationwide significance at a

needlessly breakneck pace—all while failing to adequately tee up critical issues of Article III standing

that are likely to be central (perhaps even dispositive) to the litigation. Because Plaintiffs’ scheduling

proposal largely asks Defendants and the Court to bear the cost of Plaintiffs’ insufficient preparation

over the past nine months, Defendants respectfully oppose it, for the reasons set forth below—which

address three disagreements between the parties about an appropriate schedule in this case, and one

area of agreement.
        1.      Whether briefing should proceed now, even though Plaintiffs’ motion for a
                preliminary injunction is apparently subject to changes that could be
                dispositive of the entire litigation.
        The parties’ first (and most significant) disagreement is about whether briefing should proceed

now, even though Plaintiffs have professed an intent to update the factual record on Article III

standing in ways that could be dispositive of the entire litigation.

        It is Plaintiffs’ burden to show Article III standing, Clapper v. Amnesty Int’l USA, 568 U.S. 398,

411-12 (2013), so their motion identifies three standing theories: (1) lost tax revenue starting in 2026

due to the way that most (but not all) of the Plaintiff states define “income” under state tax law, Pls.’

Br. at 7-9; (2) a theorized increase in the future difficulty in recruiting, hiring, or retaining State

employees, id. at 9-10; and (3) “harm to their state instrumentalities or quasi-instrumentalities,” id. at

10. The first two theories are meritless as a matter of law, for reasons that Defendants will address in

future briefing. Plaintiffs’ third standing theory, however—about financial injury to state-owned

instrumentalities—appears to be an effort to advance the same standing theory that the Supreme

Court accepted in another recent case about student-loan forgiveness. See Biden v. Nebraska, 143 S. Ct.

2355, 2365 (2023) (“Because we conclude that the Secretary’s plan harms [the Missouri Higher

Education Loan Authority (MOHELA)] and thereby directly injures Missouri—conferring standing

on that State—we need not consider the other theories of standing raised by the States.”).

        The problem however, is that in neither their complaint, nor their preliminary-injunction

motion do Plaintiffs plausibly allege (let alone offer evidence to support) that any (let alone all) of the

Plaintiff States even have any state-owned instrumentality that shares any of the relevant factual


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characteristics of MOHELA, or will suffer any of the sorts of harms that the Supreme Court credited.

See id. at 2365-68 (describing MOHELA at length). In fact, they do not even name any relevant state

instrumentality. Instead, Plaintiffs state that they “anticipate having proof of these facts at the time

of any hearing scheduled on this motion.” Pls.’ Mem. at 10 n.9.

        But Plaintiffs’ burden was to allege facts that show they have standing in their complaint, not

at a hearing on their motion for a preliminary injunction. It would be prejudicial for Defendants to

have to respond to any such facts on the fly at a hearing, or in a sur-reply, as Plaintiffs propose. To

be clear, this is no small issue: if any of the Plaintiffs has a state-owned instrumentality that is similarly

situated to MOHELA in all relevant respects, that State may very well have Article III standing under

binding Supreme Court precedent. If not, then this entire lawsuit may need to be dismissed for lack

of subject-matter jurisdiction. Leaving that issue open and unresolved, and briefing the case on a

shifting playing field, is not a sensible way to proceed. And there is no reason that Plaintiffs could not

have gotten their factual ducks in a row on this issue at some point in the preceding nine months.

        For these reasons, Defendants’ position is that Plaintiffs should withdraw their current motion

for a preliminary injunction and refile it whenever they are actually ready to do so—in particular, once

they have actually compiled the information that they intend to rely upon to carry their burden to

show Article III standing on their state-instrumentality theory. Because Defendants understand that

Plaintiffs are unwilling to do so, or to abandon reliance on that theory, the Court should deny Plaintiffs’

motion without prejudice to refiling it once Plaintiffs are ready to proceed. An appropriate schedule

can be set at that time.
        2.      Whether the parties should combine briefing on Plaintiffs’ motion for a
                preliminary injunction and Defendants’ motion to dismiss.
        In the alternative, if the Court sets a schedule on Plaintiffs’ motion now, it should be a schedule

that combines briefing on Plaintiffs’ motion and Defendants’ forthcoming motion to dismiss, rather

than have briefing on those two motions proceed on separate tracks.

        Defendants’ proposal is far more efficient for the parties and the Court, in that it will result in

a four-brief schedule, rather than a seven-brief schedule. It will also reduce unnecessarily repetitive



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briefing—on Plaintiffs’ proposal, for example, the parties will be briefing identical issues of Article

III standing in two separate motions, resulting in repetitive arguments from each party. After all,

“[r]eview of a preliminary injunction ‘is not confined to the act of granting the injunction, but extends

as well to determining whether there is any insuperable objection, in point of jurisdiction or merits,

to the maintenance of the bill, and, if so, to directing a final decree dismissing it.” Munaf v. Geren, 553

U.S. 674, 691 (2008) (quoting Denver v. New York Trust Co., 229 U.S. 123, 136 (1913)). Indeed, as noted

above, Defendants would argue that the complaint fails to adequately plead Article III standing.

        Although Defendants’ answer or Rule 12 motion is not currently due until June 7, see Fed. R.

Civ. P. 12(a)(2), Defendants are willing to expedite that motion to the date that they file their opposition

to Plaintiffs’ preliminary-injunction motion, for the sake of creating this efficiency benefit.
        3.      How quickly the parties should brief these important issues of nationwide
                significance.
        Also in the alternative, the parties’ third and final disagreement is about how quickly the parties

should brief the important issues of nationwide significance raised by Plaintiffs’ motion. Plaintiffs

propose an extremely compressed briefing schedule for a case like this one, which would have all

preliminary-injunction briefing completed by May 3, which is only three weeks away—though

Plaintiffs’ proposed schedule does not account for Defendant’s forthcoming motion to dismiss, as

discussed above.

        As set forth above, Defendants propose what is also a very speedy briefing schedule

(particularly for a case in which significant review and coordination will be required within the

Executive Branch), which would have both preliminary-injunction and motion-to-dismiss briefing

completed by May 24. Especially given Plaintiffs’ decision to wait nine months before filing this

lawsuit, no additional expedition is necessary or appropriate. After all, Defendants’ response to the

complaint is not due until June 7, and the Final Rule does not take effect until July 1. See 88 Fed. Reg.

at 43820. 1

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        During the meet-and-confer process, Plaintiffs referred to the fact that the agency has already
invoked its statutory “early implementation” authority, in limited respects, to implement some


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        Plaintiffs note that the federal government agreed to an even more expedited schedule in the

Nebraska litigation, but (among other material distinctions) that lawsuit was filed only one month after

the relevant agency action was announced, just days before the plan was set to take effect, and those

plaintiffs filed a motion for a temporary restraining order the same day they filed their complaint. 2

This case does not present—and Plaintiffs themselves have not demonstrated—any comparable

urgency.

        For these reasons, if the Court does wish to enter a schedule now, it should enter a schedule

no faster than Defendants’ proposal, set forth above.
        4.      Whether the Court should issue a decision by June 24.
        Plaintiffs request that the Court issue a decision in this matter no later than June 24, 2024.

Although Defendants defer to the Court about the timing of a decision, Defendants have no objection

to Plaintiffs’ request for a decision no later than June 24, given that the Rule takes effect on July 1.

Defendants note, however, that the extremely quick briefing schedule that Plaintiffs propose is not

necessary to have these issues fully briefed and ripe for decision by June 24. Defendants’ proposal (or

even a more routine schedule) would also leave ample time.




portions of the Final Rule before July 1. But that too should have been no surprise to Plaintiffs: that
approach was explicitly contemplated by the Final Rule in July 2023, see 88 Fed. Reg. at 43820-21, and
the specific actions at issue were also separately noticed in the Federal Register many months ago (in
October 2023, 88 Fed. Reg. 72685, and January 2024, see 89 Fed. Reg. 2489).
        2
         See Nebraska v. Biden, 4:22-cv-1040, Dkt. No. 1 (E.D. Mo. filed Sept. 29, 2022); Press Release,
White House, FACT SHEET: President Biden Announces Student Loan Relief for Borrowers Who Need It Most
(Aug. 24, 2022), https://perma.cc/R2ND-6RQJ.

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Dated: April 12, 2024                 Respectfully submitted,

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